Case 2:22-cv-00006-JAD-DJA   Document 1-3   Filed 01/03/22   Page 1 of 6




                        Exhibit A
Plaintiff’s Complaint Filed in Eighth
            Judicial District Court
                                                                        Case 2:22-cv-00006-JAD-DJA           Document 1-3             Filed 01/03/22    Page 2 of 6
                                                                                                                                                       Electronically Filed
                                                                                                                                                       11/19/2021 3:50 PM
                                                                                                                                                       Steven D. Grierson
                                                                                                                                                       CLERK OF THE COURT
                                                                    1     COMP
                                                                          Scott L. Poisson, Esq.
                                                                    2     Nevada Bar No. 10188
                                                                          Amber N. King, Esq.
                                                                    3     Nevada Bar No. 14070
                                                                          BERNSTEIN & POISSON                                                    CASE NO: A-21-844392-C
                                                                    4     320 S. Jones Blvd.
                                                                          Las Vegas, Nevada 89107                                                          Department 2
                                                                    5     Telephone: (702) 877-4878
                                                                          Facsimile: (702) 256-6280
                                                                    6     Attorneys for Plaintiff

                                                                    7
                                                                                                      EIGHTH JUDICIAL DISTRICT COURT
                                                                    8
                                                                                                           CLARK COUNTY, NEVADA
                                                                    9
                                                                          SHERMAIN ADDISON-JONES, an individual,                 Case No.:
                                                                   10
                                                                                         Plaintiff,                              Dept. No.:
                                                                   11
                                                                                 v.
                                                                   12
                      OFFICE: (702) 877-4878 FAX: (702) 256-6280




                                                                          CARRIAGE SERVICES OF NEVADA, INC.                                       COMPLAINT
                                                                   13     doing business as BUNKER EDEN VALE
Bernstein & Poisson




                                                                          MEMORIAL PARK; CARRIAGE CEMETERY
                               Las Vegas, Nevada 89107




                                                                   14     SERVICES, INC., doing business as BUNKER
                                   320 S. Jones Blvd.




                                                                          EDEN VALE MEMORIAL PARK; ; DOES 1
                                                                   15     through 100; and ROE CORPORATION 101
                                                                          through 200, inclusive,
                                                                   16
                                                                                         Defendant(s).
                                                                   17

                                                                   18
                                                                                 COMES NOW, the Plaintiff, by and through her counsel of record, BERNSTEIN &
                                                                   19
                                                                          POISSON, submits this complaint against Defendants for the foregoing causes of action, and
                                                                   20
                                                                          alleges as follows:
                                                                   21
                                                                                                                    JURISDICTION
                                                                   22
                                                                                 1.      Shermain Addison-Jones, (hereinafter “Plaintiff”) is individual residing in Clark
                                                                   23
                                                                          County, Nevada.
                                                                   24
                                                                                 2.      Carriage Services of Nevada, Inc., is a corporation, doing business in Clark
                                                                   25
                                                                          County, Nevada as Bunker Eden Vale Memorial Park.
                                                                   26
                                                                                 3.      Carriage Cemetery Services, Inc., is a corporation, doing business in Clark
                                                                   27
                                                                          County, Nevada, as Bunker Eden Vale Memorial Park.
                                                                   28

                                                                                                                        Page 1 of 5


                                                                                                         Case Number: A-21-844392-C
                                                                        Case 2:22-cv-00006-JAD-DJA           Document 1-3         Filed 01/03/22     Page 3 of 6


                                                                    1             4.     Defendants, Carriage Services of Nevada, Inc., and Carriage Cemetery Services,

                                                                    2     Inc., will herein after be collectively referred to as Defendants.

                                                                    3             5.     DOE and ROE Defendants 1 through 200 are legal entities/residents of Clark

                                                                    4     County, Nevada, and authorized to do business by the State of Nevada. Furthermore, said Doe

                                                                    5     and Roe Defendants were employees, agents, or servants of Defendants in its control and

                                                                    6     functioned and assisted in the operation, control maintenance and/or management of the premise,

                                                                    7     in which plaintiff was injured, causing damages.

                                                                    8             6.     The true names and capacities, whether individual, corporate, associate or

                                                                    9     otherwise of Defendants DOES 1 through 100 and ROE CORPORATIONS 101 through 200,

                                                                   10     inclusive, are unknown to Plaintiff who therefore sues said Defendants by such fictitious names;

                                                                   11     on information and belief, Plaintiff alleges that the Defendants, and each of them, designated

                                                                   12     herein as a DOE or ROE CORPORATION were responsible in some manner for the injuries
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                                                                   13     sustained by the Plaintiff resulting from the below stated incident; and is liable for all damages
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                               Las Vegas, Nevada 89107




                                                                   14     due to Plaintiff as alleged herein. Plaintiff will ask leave of court to amend this Complaint to
                                   320 S. Jones Blvd.




                                                                   15     insert the true names and capacities when the same is ascertained and to join such Defendants in

                                                                   16     this action.

                                                                   17             7.     DOES 1 through 5 are entities responsible for maintaining the property known as

                                                                   18     Bunker Eden Vale Memorial Park, located at 1216 Las Vegas Blvd., Las Vegas, NV 89101.

                                                                   19     DOES 6 through 10 are entities or individuals who installed or maintained the gravel and asphalt

                                                                   20     subject to this incident at the property known as Bunker Eden Vale Memorial Park, located at

                                                                   21     1216 Las Vegas Blvd., Las Vegas, NV 89101. DOES 11 through 15 are the entities or

                                                                   22     individuals responsible for completing construction involved with the operation of and around

                                                                   23     the gravel and asphalt subject to this incident at the property known as Bunker Eden Vale

                                                                   24     Memorial Park, located at 1216 Las Vegas Blvd., Las Vegas, NV 89101. DOES 16 through 20

                                                                   25     are entities or individuals responsible for the maintenance and inspection of the gravel and

                                                                   26     asphalt to this incident at the property known as Bunker Eden Vale Memorial Park, located at
                                                                   27     1216 Las Vegas Blvd., Las Vegas, NV 89101. DOES 21 through 25 are manufacturers or

                                                                   28     designers of the gravel and asphalt and related materials required for the installation of the area

                                                                                                                       Page 2 of 5
                                                                        Case 2:22-cv-00006-JAD-DJA            Document 1-3        Filed 01/03/22      Page 4 of 6


                                                                    1     which it subject to this complaint. Plaintiffs will ask leave of this court to insert the true names

                                                                    2     and capacities of such Defendants when the same have been ascertained.

                                                                    3                                       CLAIM FOR NEGLIGENCE
                                                                    4             8.       Defendants constructed, maintained and installed the gravel and asphalt that is

                                                                    5     subject to this incident, at the property known as Bunker Eden Vale Memorial Park, located at

                                                                    6     1216 Las Vegas Blvd., Las Vegas, NV 89101. (hereinafter “the Property”).

                                                                    7             9.       On December 11, 2019, Plaintiff was legally on the premise owned and operated

                                                                    8     by Defendants.

                                                                    9             10.      While Plaintiff was walking through the property on the asphalt, she slipped and

                                                                   10     fell on loose gravel and rock.

                                                                   11             11.      It was reasonably foreseeable that a person would walk across this area of asphalt.

                                                                   12             12.      Defendants were in charge of maintaining the common areas of the Property.
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                                                                   13             13.      The asphalt area where Plaintiff fell was in the common area.
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                               Las Vegas, Nevada 89107




                                                                   14             14.       Defendants had a duty to properly maintain the common area and provide an
                                   320 S. Jones Blvd.




                                                                   15     area that was safe for use.

                                                                   16             15.      Defendants breached their duty by failing to maintain and provide a safe asphalt

                                                                   17     area.

                                                                   18             16.      Defendants, and each of them, had a duty to supervise and maintain said premises

                                                                   19     in a reasonably safe and suitable condition for its patrons, guests and invitees; and further to take

                                                                   20     any and all reasonable precautions to avoid the presence of dangerous conditions on or around

                                                                   21     said premises.

                                                                   22             17.      Defendants had a duty to inspect and maintain the common area in a safe and

                                                                   23     reasonable manner to ensure safe use of the asphalt.

                                                                   24             18.      Defendants breached their duty by failing to maintain the asphalt and ensure its

                                                                   25     safe use and operation.

                                                                   26             19.      Defendants and their employees knew or should have known about the dangerous
                                                                   27     condition, which caused the injuries to Plaintiff, yet continued to let this condition exist, causing

                                                                   28     an unreasonable threat to the safety of those on their property, including Plaintiff.

                                                                                                                       Page 3 of 5
                                                                        Case 2:22-cv-00006-JAD-DJA            Document 1-3         Filed 01/03/22     Page 5 of 6


                                                                    1             20.     Defendants allowed the dangerous condition to exist for an extended period of

                                                                    2     time by negligently allowing the asphalt to be improperly maintained, installed, and safe.

                                                                    3             21.     Defendants, and each of them, known and unknown, breached these duties,

                                                                    4     directly and proximately causing Plaintiff’s injuries.

                                                                    5             22.     Defendants, despite having actual notice or constructive notice, upon a reasonable

                                                                    6     inspection of its premises, that a dangerous condition existed. Defendants, failed to cure the

                                                                    7     same, enact proper safeguards, or warn of same to prevent serious bodily injury to Plaintiff, all in

                                                                    8     breach of its duty of due care herein.

                                                                    9             23.     Defendant’s negligence was the actual and proximate cause of physical injury to

                                                                   10     Plaintiff.

                                                                   11             24.     Plaintiff incurred medical expenses, wage loss, loss of household services, pain

                                                                   12     and suffering, as a result of this incident.
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                                                                   13             25.     This incident caused Plaintiff to suffer severe injuries and damages in an amount
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                               Las Vegas, Nevada 89107




                                                                   14     in excess of $15,000.00 subject to proof at trial, and Plaintiff will continue to suffer from her
                                   320 S. Jones Blvd.




                                                                   15     injuries in the future.

                                                                   16                                        DEMAND FOR JUDGMENT
                                                                   17             WHEREFORE, the Plaintiff reserving her right individually or through her
                                                                   18     representatives, to amend his Complaint prior to, or at the time of trial of this action to insert

                                                                   19     those items of damage not yet fully ascertainable, pray for judgment against said Defendants, and

                                                                   20     each of them as follows:

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                                                                        Case 2:22-cv-00006-JAD-DJA        Document 1-3         Filed 01/03/22   Page 6 of 6


                                                                    1

                                                                    2

                                                                    3             1) For General and Special Damages in a sum in excess of $15,000.00;

                                                                    4             2) For Attorneys’ fees and costs of suit incurred herein;

                                                                    5             3) For interest at the statutory rate; and

                                                                    6             4) For such other and further relief as the Court may deem just and equitable in the

                                                                    7                matter.

                                                                    8           DATED this     29th day of October, 2021

                                                                    9                                                Respectfully submitted,

                                                                   10                                                BERNSTEIN & POISSON
                                                                   11                                                __/s/Amber N. King
                                                                                                                     SCOTT L. POISSON, ESQ.
                                                                   12                                                State Bar No. 010188
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                                                                                                                     AMBER N. KING, ESQ.
                                                                   13                                                State Bar No.14070
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                                                                                                                     320 S. Jones Blvd.
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                                                                   14                                                Las Vegas, Nevada 89107
                                   320 S. Jones Blvd.




                                                                                                                     (T) (702) 877-4878
                                                                   15                                                (F) (702) 256-6280
                                                                                                                     Email: amber@vegashurt.com
                                                                   16                                                Attorneys for Plaintiff

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